Case 2:04-cr-20256-.]Pl\/l Document 136 Filed 05/02/05 Page 1 of 2 PagelD 184

|N THE UN|TED STATES D|STR|CT COURT
FOR THE VVESTERN D|STR|CT OF TENNESSEE

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alnl , T\M '_.-/-¢V-\'//
ALS'.__..§j-L-'/

vs. cr. No. 04-20256!1\}1T‘
LAoARlus o_ TAYLoR,

Defendant,

-_z-._z-~..¢-._/-._/-._/~.__z~._/-._/

ORDER GRANT|NG GOVERNMENT’S ORAL MOT|ON
TO D|SM|SS THE OR|GlNAL |ND|CTMENT AND
COUNTS 2 THROUGH 7 OF THE SUPERSED|NG |ND|CTMENT
This cause came to be heard before the Court at the sentencing hearing held this
date upon the oral motion of counsel forthe United States to dismiss the original indictment
and counts 2 through 7 of the superseding indictment in this ease as to defendant Ladarlus
G. Taylor, and lt appears to the Court that the plea agreement in this case having been

accepted and sentence imposed on count 1 of the superseding lndictment, the

government’s motion is well taken and should be granted.

so oRDEREDthiS d day of JA lft§ ' ,2005.

ON PHlPPS l\/lCCALL/-\
Un' ed States District Judge

`l'hls document entered on the docket sheet in compliance

with Hule 55 and/or 32{b) FFlCrP on § ’,Z §§ 7 / %

   

UNITED `sATEs DISTRICT COUR - W"'RNTE D's'TRCT oFTENNEssEE

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This notice confirms a copy ot` the document docketed as number 136 in
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Honorable J on McCalla
US DISTRICT COURT

